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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 RODNEY GILLESPIE, et al.,

                         Plaintiff,
                                                                CIVIL ACTION
           v.                                                   NO. 20-4948

 PENNSYLVANIA STATE POLICE, et al.,

                         Defendant.


                                            ORDER

       AND NOW, this 3rd day of December 2021, upon consideration of Plaintiffs’ Complaint

(Doc. No. 1), Defendants’ Motion to Dismiss (Doc. No. 2), Plaintiffs’ Response in Opposition

(Doc. No. 6), Defendants’ Reply (Doc. No. 9), Plaintiffs’ Supplemental Brief on the dashcam

footage (Doc. No. 16), Defendants’ Response in Opposition (Doc. No. 17), Defendants’ Letter on

the Pennsylvania Equal Protection Claim (Doc. No. 22), Plaintiffs’ supplemental brief on the

Pennsylvania Equal Protection Claim (Doc. No. 23), the arguments of counsel at the hearing held

on April 29, 2021, the statements of counsel for the parties during the November 9, 2021 telephone

conference, and in accordance with the Opinion of the Court issued this day, it is ORDERED as

follows:

       1. Defendants’ Motion to Dismiss (Doc. No. 2) alleging a violation of Title VI of the Civil
          Rights Act is GRANTED.

       2. Defendants’ Motion to Dismiss (Doc. No. 2) all claims against Defendant
          Commonwealth of Pennsylvania and Pennsylvania State Police is GRANTED.

       3. Defendants’ Motion to Dismiss (Doc. No. 2) the malicious prosecution claim against
          Defendant Johnson is GRANTED.

       4. Defendants’ Motion to Dismiss (Doc. No. 2) the Equal Protection Claims is
          GRANTED.



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5. Defendants’ Motion to Dismiss (Doc. No. 2) the Negligent Infliction of Emotional
   Distress claim is GRANTED.

6. The Motion to Dismiss Count I alleging False Imprisonment by Trooper Johnson will
   be treated as one for Summary Judgment.

7. The Motion to Dismiss the Intentional Infliction of Emotional Distress claim against
   Trooper Johnson will be converted into a Motion for Summary Judgment.

8. All immunities claims asserted by Trooper Johnson will decided at the Summary
   Judgment stage.

9. Parties will be given time to do discovery on the Motion for Summary Judgment.
   Discovery shall be completed by March 4, 2022.

10. A hearing on the reliability and verifiability of the dashcam footage will be held on
    Thursday, March 11, 2022 at 10:00 A.M. in in Courtroom 13A, United States
    Courthouse, 601 Market Street, Philadelphia, Pennsylvania.

11. All supplemental Motions for Summary Judgment and supporting memoranda shall be
    filed no later than March 24, 2022, and responses to any such motions shall be filed
    no later than April 21, 2022. Motions for summary judgment and responses shall be
    filed in the form prescribed in Judge Slomsky’s Scheduling and Motion Policies and
    Procedures, a copy of which can be found at www.paed.uscourts.gov.



                                            BY THE COURT:



                                             /s/ Joel H. Slomsky
                                            ___________________
                                            JOEL H. SLOMSKY, J.




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